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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:11-CR-00490 JAM
11
                                 Plaintiff,            [REVISED PROPOSED ] ORDER GRANTING
12                                                     GOVERNMENT’S MOTION TO COMPEL
                           v.                          FINGERPRINTS
13
     IRINA MARKEVICH,
14   ALEX MARKEVICH,
     ANATOLIY MARKEVICH,
15   DANIIL MARKEVICH,
     SVETLANA MARKEVICH,
16   SERGEY PUKHKAN, and
     MARINA PUKHKAN,
17
                                Defendants.
18

19          IT IS HEREBY ORDERED that defendants Irina Markevich, Alex Markevich, Anatolity

20 Markevich, Daniil Markevich, Svetlana Markevich, Sergey Pukhkan, and Marina Pukhkan provide

21 fingerprints to the government’s designated representative from the Federal Bureau of Investigation or

22 the Internal Revenue Service on or before October 7, 2014. Fingerprinting shall take place at the

23 offices of the Internal Revenue Service at 4330 Watt Ave., Sacramento, California, at a time mutually

24 agreed upon between counsel for the government and the respective defendants.

25
     Dated: September 30, 2014
26                                                  THE HONORABLE ALLISON CLAIRE
                                                    UNITED STATES MAGISTRATE JUDGE
27

28


      ORDER GRANTING GOVERNMENT’S MOTION TO            1
      COMPEL FINGERPRINTS
